Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 1 of 29. PageID #: 1657




   DOWD, J.

                                      UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF OHIO
                                            EASTERN DIVISION

   Jerry A. Whittiker, et al.,                                 )
                                                               )      CASE NO. 1:08 CV 300
                     Plaintiffs,                               )
                                                               )
            v.                                                 )      MEMORANDUM OPINION
                                                               )      (Resolving ECF 54, 70, 72, 74, 75, 76, and
   Deutsche Bank National Trust Company, et                    )      92-2)
   al.,                                                        )
                                                               )
                     Defendants.                               )
                                                               )

                             I. INTRODUCTION AND PROCEDURAL BACKGROUND

   A.       Defendants’ Dispositive Motions

            Plaintiffs allege in this putative class action that defendants violated the federal Fair Debt

   Collection Practices Act and the Ohio Corrupt Activities statute because of misrepresentations

   made by defendants during foreclosure proceedings against plaintiffs. Before the Court are

   motions by all defendants1 for judgment on the pleadings and or to dismiss all three counts of

   plaintiffs’ first amended complaint (Complaint) for failure to state a claim.2 The collective bases


            1
              Motion for Judgment on the Pleadings by defendant Manley, Deas, Kochalski, LLC (MDK) (ECF 70);
   Motion for Judgment on the Pleadings by defendant Reisenfeld & Associates (Reisenfeld) (ECF 72); Motion for
   Judgment on the Pleadings by defendant Weltman, Weinberg & Reis (WWR) (ECF 74); and Motion to Dismiss for
   Failure to State a Claim (Rule 12(b)(6)) by DBNTC (ECF 75). DBNTC also filed a motion for the Court to take
   judicial notice of certain documents submitted in support of its Motion to Dismiss (ECF 76), and additionally
   requested that the Court take judicial notice of certain documents submitted in connection with its reply in support of
   its motion to dismiss plaintiffs’ first amended complaint (ECF 92-2).

            2
               See ECF 57. Count 1 of the Complaint alleges that defendants: a) made false, deceptive and misleading
   representations regarding defendant Deutsche Bank National Trust Company’s (DBNTC) standing to sue and
   interest in the debt; b) falsely represented that the debt was due and owing to DBNTC at the time the suit was filed;
   c) falsely represented that the debt was due and owing to DBNTC as an innocent purchaser when assignment of the
   debt had not taken place; d) threatened to engage in collection actions and foreclosure suits as trustee that could not
                                                                                                           (continued...)
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 2 of 29. PageID #: 1658



   (1:08 CV 300)

   of defendants’ motions are: 1) lack of subject matter jurisdiction pursuant to the Rooker-

   Feldman doctrine; 2) abstention pursuant to the Younger doctrine; 3) res judicata (claim and

   issue preclusion); 4) FDCPA statute of limitations; and 5) no FDCPA violation.

           Plaintiffs were granted leave to conduct limited discovery before responding to

   defendants’ dispositive motions (ECF 82), after which plaintiffs filed an omnibus response to

   defendants’ motions (ECF 85). Defendants each replied to plaintiffs’ omnibus response,3 to

   which plaintiffs filed an omnibus sur-reply (ECF 95). DBNTC filed a reply to plaintiffs’

   sur-reply (ECF 97).

   B.      Report and Recommendation

           The Court referred all of defendants’ dispositive motions to United States Magistrate

   Judge Benita Pearson for a Report and Recommendation (ECF 93). Magistrate Judge Pearson

   heard oral argument on December 2, 2008, and subsequently issued a Report and

   Recommendation (Recommendation) regarding the disposition of those motions, as well as

   DBNTC’s requests to take judicial notice of certain documents filed in support of its motion to


           2
            (...continued)
   be legally taken by DBNTC; and e) accessed state and federal courts to collect on notes and foreclose on mortgages
   under false pretenses when DBNTC was not authorized to engage in such activities as a trustee in Ohio, all in
   violation of the Fair Debt Collection Practices Act (FDCPA), 15 U.S.C. § 1692e, by filing foreclosure actions
   against plaintiffs when DBNTC did not obtain or assign the notes of the mortgages until after the notes were in
   default and until after DBNTC sued in its own name as the holder or owner of the notes and mortgages. See ECF 57,
   par. 36-37.
            Count 2 of the Complaint alleges that the defendants violated Ohio’s RICO laws, Ohio Rev. Code §
   2923.32, by filing foreclosure actions alleging ownership of the notes and mortgages when it did not own such notes
   and mortgages. See ECF 57, par. 40-45.
            Count 3 of the Complaint requests appointment of a receiver pursuant to Ohio Rev. Code § 2735.01 to
   recover from DBNTC the any interest in the real property acquired in the foreclosure actions and any charges
   collected, as well as fees earned by the defendant law firms. See ECF 57, par. 49-51.

           3
               MDK’s reply (ECF 89); WWR’s reply (ECF 90); Reisenfeld’s reply (ECF 91); and DBNTC’s reply (ECF
   92).

                                                           2
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 3 of 29. PageID #: 1659



   (1:08 CV 300)

   dismiss (ECF 99). Magistrate Judge Pearson has recommended: 1) granting defendants’ Rule 12

   motions as to Count 1 of plaintiffs’ Complaint alleging violation of the FDPCA; 2) dismissing

   without prejudice Counts 2 and 3 of plaintiffs’ Complaint, which involve state law claims; and

   3) granting DBNTC’s request to take judicial notice of certain documents.

   C.     Plaintiffs’ Objections to Report and Recommendation and Defendants’ Responses

          Plaintiffs requested and received an extension of time to file their objections to the

   Recommendation (ECF 100). Plaintiffs objected to the Recommendation (ECF 101) insofar as

   it recommends: 1) granting defendants’ motions as to plaintiffs’ federal claims under the FDCPA

   (Count 1); 2) dismissing without prejudice plaintiffs’ state law claims (Counts 2 and 3); and

   3) granting DBNTC’s requests for judicial notice.

          Defendants requested an extension of time to respond to plaintiffs’ objections (ECF 102).

   The Court allowed defendants more time, but not as much as they requested (ECF 103). Three

   of the four defendants filed responses to plaintiffs’ objections: WWR (ECF 104), Reisenfeld

   (ECF 106), and DBNTC (ECF 107).

          MDK did not respond to plaintiffs’ objections, but Kimball filed a stipulated dismissal

   dismissing Count 1 of the Complaint (FDCPA violation) against MDK with prejudice, and

   dismissing the remaining state claims - Counts 2 and 3 - against MDK without prejudice. See

   ECF 105. Kimball’s stipulated dismissal as to MDK specifically states that her claims against

   DBNTC remain. Id. The Court accordingly ordered the dismissal of Kimball’s FDCPA claims

   (Count 1) against MDK with prejudice, and the dismissal of Kimball’s state claims (Counts 2




                                                    3
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 4 of 29. PageID #: 1660



   (1:08 CV 300)

   and 3) against MDK without prejudice. See ECF 108. Consequently, defendant MDK’s motion

   for judgment on the pleadings, ECF 70, is DENIED without prejudice as moot.

   D.     De novo Review

          The Court conducted a de novo review of the Recommendation pursuant to Rule 72(b)(3)

   of the Federal Rules of Civil Procedure. As a result of that de novo review and for the reasons

   discussed below, the Court concludes as follows: 1) DBNTC’s requests that the Court take

   judicial notice of certain documents filed in support of its motion to dismiss (ECF 76 and 92-2)

   are GRANTED; and 2) defendants’ Rule 12 motions as to Count 1 of the Complaint alleging

   violations of the FDCPA (ECF 70, 72, 74 and 75), are GRANTED.

          After dismissing plaintiffs’ federal claims, Count 1, the Court declines to exercise

   jurisdiction over plaintiffs’ state claims (Counts 2 and 3). Accordingly, defendants’ motions as

   to plaintiffs’ state law claims, Counts 2 and 3 (ECF 70, 72, 74 and 75), are DENIED without

   prejudice as moot.

          Lastly, plaintiffs have moved for class certification (ECF 54). In light of the Court’s

   ruling on defendants’ dispositive motions, plaintiffs’ motion for class certification is DENIED

   without prejudice as moot.

                                              II. FACTS

   A.     Whittiker Foreclosure

          On December 16, 2004, plaintiffs Jerry and Whittiker and Frances Whittiker

   (collectively, Whittiker) executed a promissory note to First NLC Financial Services, LLC, (First




                                                   4
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 5 of 29. PageID #: 1661



   (1:08 CV 300)

   NLC) primarily for personal, family or household purposes. The note was secured by a

   mortgage to First NLC on property located in Maple Heights, Ohio.

          On December 1, 2006, defendant DBNTC, claiming that it was the owner and holder of

   the note executed by Whittiker, sued Whittiker in the Cuyahoga County Court of Common Pleas

   to forelcose on the Maple Heights property (Whittiker Foreclosure Action). Defendant WWR, a

   law firm, filed and prosecuted the foreclosure action against Whittiker on behalf of DBNTC.

   The Whittiker Foreclosure Action concluded with a judgment in favor of DBNTC and the

   property was sold to DBNTC at a sheriff’s auction in January, 2008. Whittiker alleges in the

   Complaint that DBNTC was not the owner and holder of the promissory note when the Whittiker

   Foreclosure Action was filed.

   B.     Kimball Foreclosure

          On November 20, 2004, plaintiff Valeria Kimball (Kimball) executed a promissory note

   to Ameriquest Mortgage Company (Ameriquest). The note was secured by a mortgage to

   Ameriquest on property located on East 173rd Street in Cleveland, Ohio. On May 25, 2005,

   defendant DBNTC, claiming that it was the owner and holder of the of the note executed by

   Kimball, sued Kimball in the Cuyahoga County Court of Common Pleas to forelcose on the East

   173rd Street property (Kimball Foreclosure Action). Defendant MDK, a law firm, filed and

   prosecuted the foreclosure action against Kimball on behalf of DBNTC. The Kimball

   Foreclosure Action concluded with a judgment in favor of DBNTC and the property was sold to

   DBNTC at a sheriff’s auction in November, 2006. Kimball alleges in the Complaint that




                                                  5
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 6 of 29. PageID #: 1662



   (1:08 CV 300)

   DBNTC was not the owner and holder of the promissory note when the Kimball Foreclosure

   Action was filed.

   C.     Stepanek Foreclosure

          On December 2, 2005, plaintiff James Stepanek (Stepanek) executed a promissory note

   to Argent Mortgage Company, LLC (Argent) primarily for personal, family or household

   purposes. The note was secured by a mortgage to Argent on property located on West 106th

   Street in Cleveland, Ohio. On March 25, 2008, defendant DBNTC, claiming that it was the

   owner and holder of the of the note and mortgage executed by Stepanek, sued Stepanek in the

   Cuyahoga County Court of Common Pleas to forelcose on the West 106th Street property

   (Stepanek Foreclosure Action). Defendant Reisenfeld, a law firm, filed and prosecuted the

   foreclosure action against Stepanek on behalf of DBNTC.

          At the time the Complaint was filed, the Stepanek Foreclosure Action was pending.

   Stepanek alleges in the Complaint that DBNTC actually was not the owner and holder of the

   note and mortgage when the Stepanek Foreclosure Action was filed. However, the Court notes

   that the Stepanek mortgage was assigned prior to the Stepanek Foreclosure Action and recorded

   the same day that action was filed. See ECF 73-3.

                                        III. LAW AND ANALYSIS

   A.     Rooker-Feldman Doctrine
          The Court has Subject Matter Jurisdiction to Rule on this Case

          As a threshold matter, defendants contend that the Court lacks subject matter jurisdiction

   over the Whittaker and Kimball claims under the Rooker-Feldman doctrine. Rooker-Feldman

   must be considered first because its application strips the Court of jurisdiction to consider

                                                    6
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 7 of 29. PageID #: 1663



   (1:08 CV 300)

   affirmative defenses and the other bases of defendants’ motions. See Hutcherson v. Lauderdale

   County, Tennessee, 326 F3d. 747, 755 (6th Cir. 2003) (rehearing and suggestion for rehearing en

   banc denied).

          The Rooker-Feldman doctrine stands for the “unremarkable proposition that a federal

   district court lacks subject matter jurisdiction to review a state court decision.” Pittman v.

   Cuyahoga County Department of Children and Family Services, 241 Fed. Appx. 285, 287 (6th

   Cir. 2007) (citing McCormick v. Braverman, 451 F.3d 382, 389 (6th Cir. 2006)); See D.C. Ct of

   App. v. Feldman, 460 U.S. 462, 476 (1983); Rooker v. Fid. Trust Co., 263 U.S. 413, 416 (1923).

          A recent United States Supreme Court decision in Exxon Mobil Corp. v. Saudi Basic

   Industries Corp.4 clarified that the application of the Rooker-Feldman doctrine is confined to

   “cases brought by state-court losers complaining of injuries caused by the state-court judgments

   rendered before the district court proceedings commenced and inviting district court review and

   rejection of those judgments.” Givens v. Homecomings Financial, 278 Fed. Appx. 607, 609 (6th

   Cir. 2008) (quoting Exxon Mobil Corp., 544 U.S. at 284). In the wake of Exxon Mobil Corp., the

   Sixth Circuit has “tightened the scope of Rooker-Feldman.” Pittman, 241 Fed. Appx. at 287

   (citing Coles v. Granville, 448 F.3d 853, 857 (6th Cir. 2006)). Rooker-Feldman only deprives a

   district court of jurisdiction only “when the cause of the plaintiff’s complaint is the state

   judgment itself.” Givens v. Homecomings Financial, 278 Fed. Appx. at 609 (citing McCormick,

   451 F.3d at 393).




          4
              544 U.S. 280 (2005).

                                                     7
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 8 of 29. PageID #: 1664



   (1:08 CV 300)

                The Rooker-Feldman doctrine does not prevent a district court from exercising subject

   matter jurisdiction simply because a party attempts to litigate in federal court a matter previously

   litigated in state court, as long as the federal plaintiff presents an independent claim even if that

   claim denies a legal conclusion reached by the state court.5 Pittman, 241 Fed. Appx. at 287

   (citing Exxon Mobil Corp., 544 U.S. at 284).

            In McCormick, the Sixth Circuit provided guidance in differentiating between a claim

   that attacks a state court judgment and is therefore within the scope of Rooker-Feldman, and an

   independent claim over which the district court has subject matter jurisdiction.

            The inquiry then is the source of the injury plaintiff alleges in the federal complaint.
            If the source of the injury is the state court decision, then the Rooker-Feldman doctrine
            would prevent the district court from asserting jurisdiction. If there is some other
            source of injury, such as a third party’s actions, then the plaintiff asserts an independent
            claim. . . . .The key point is that the source of the injury must be from the state court
            judgment itself; a claim alleging another source of injury is an independent claim.

   McCormick, 451 F.3d at 393-94.

            A claim that the state court judgment was procured by the alleged wrongdoing of the

   defendant is an independent claim over which the district court may assert jurisdiction, even if

   those independent claims deny a legal conclusion of the state court. McCormick, 451 F.3d at

   392-93 (Rooker-Feldman doctrine does not deprive district court of jurisdiction over federal

   plaintiff’s claims against receiver and homeowners’ insurer alleging fraud in obtaining order of




            5
             Efforts to litigate in federal courts matters previously litigated in state court may be barred on other
   grounds, however, such as claim and issue preclusion even if Rooker-Feldman does not divest the district court of
   subject matter jurisdiction over those claims.

                                                            8
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 9 of 29. PageID #: 1665



   (1:08 CV 300)

   receivership from state court). In Todd v. Weltman, Weinberg & Reis Co.,6 the Sixth Circuit

   found that the Rooker-Feldman doctrine did not deprive the district court of subject matter

   jurisdiction over plaintiff’s federal claim that defendant filed a false affidavit in a state court

   garnishment proceeding. Todd, 434 F.3d at 437. In Brown v. First Nationwide Mortgage

   Corporation,7 the Sixth Circuit held that a federal plaintiff’s allegations of fraud in connection

   with a state court proceeding does not constitute a complaint regarding the foreclosure decree

   itself, but concerns defendant’s actions that preceded the decree, and therefore plaintiff’s claim

   that the foreclosure decree was procured by fraud is not barred by Rooker-Feldman. Brown, 206

   Fed. Appx. at 440.

           In this case, the source of the injury claimed by plaintiffs is the allegedly false

   information provided by defendants in the underlying foreclosure proceedings to obtain

   judgments, not the foreclosure judgments themselves. Because plaintiffs’ alleged injuries are

   caused by the alleged wrongful acts of defendants in the foreclosure proceedings and not the

   foreclosure judgment, the Court concludes that Whittiker and Kimball assert independent claims

   that are not barred by Rooker-Feldman and over which the Court may assert subject matter

   jurisdiction.




           6
               434 F.3d 432, 437 (6th Cir. 2006).
           7
               206 Fed. Appx. 436, 440 (6th Cir. 2006).


                                                          9
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 10 of 29. PageID #: 1666



   (1:08 CV 300)

   B.      Younger Abstention Doctrine
           The Court is Not Required to Abstain from Ruling on this Case

           DBNTC argues in its motion to dismiss that the Court should abstain from hearing

   plaintiff Stepanek’s claims pursuant to the Younger doctrine because Stepanek’s foreclosure

   proceeding remains pending in the Cuyahoga County Court of Common Pleas. In Younger v.

   Harris, the United States Supreme Court held that federal-court abstention is appropriate where a

   plaintiff invokes federal jurisdiction as a basis for obtaining injunctive relief in state court

   criminal proceedings. Squire v. Coughlan, 469 F.3d 551, 555 (6th Cir. 2006) (citing Younger v.

   Harris, 401 U.S. 37, 53-54 (1971)); Borkowski v. Fremont Investment and Loan, 368 F. Supp. 2d

   822, 828 (N.D. Ohio 2005) (abstention mandated when federal court intervention unduly

   interferes with the legitimate activities of the state). The doctrine was later expanded by the

   Supreme Court to noncriminal judicial proceedings when important state interests are involved.

   Id. (citing Middlesex County Ethics Comm’n v. Garden State Bar Ass’n, 457 U.S. 423, 432

   (1982)).

           Three requirements must be met for Younger abstention to be appropriate: 1) there must

   be an ongoing state judicial proceeding; 2) the proceedings must implicate an important state

   interest; and 3) there must be an adequate opportunity in the state proceeding to raise

   constitutional challenges. Leatherworks Partnership, et al., v. Boccia, et al., 246 Fed. Appx.

   311, 317 (6th Cir. 2007) (citing Middlesex County Ethics Comm’n, 457 U.S. at 432); see also

   Doscher v. Menifee Circuit Court, 75 Fed. Appx. 996, 997 (6th Cir. 2003); Borkowski, 368 F.

   Supp. 2d at 828. However, only exceptional circumstances justify a federal court’s refusal to




                                                     10
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 11 of 29. PageID #: 1667



   (1:08 CV 300)

   decide a case in deference to a state court. Executive Arts Studio v. City of Grand Rapids, 391

   F.3d 783, 791 (6th Cir. 2005); Leatherworks Partnership, 246 Fed. Appx. at 317.

          In this case, Stepanek claims that defendants made false statements in the underlying

   foreclosure action that violates the FDCPA. However, he does not ask this Court to enjoin or

   otherwise interfere with the Stepanek Foreclosure Action. Were the Court to conclude that

   defendants’ allegedly false statements violated the FDCPA, it would be for the state court to

   decide what effect, if any, that violation had on the Stepanek Foreclosure Action. Further,

   Stepanek’s claim does not assert a constitutional violation in connection with the underlying

   foreclosure action. See Leatherworks Partnership, 246 Fed. Appx. at 318 (“After dismissal of

   the § 1983 equal protection claim, it is difficult to identify any constitutional issue that would

   warrant Younger abstention analysis.”).

          The circumstances of this case do not justify the Court’s refusal to decide this case in

   deference to the underlying foreclosure action. Accordingly, the Court declines to abstain from

   this case pursuant to the Younger doctrine.

   C.     Res judicata, collateral estoppel and waiver

          Defendants argue variously that plaintiffs’ claims in this case are precluded from

   consideration by the Court because of res judicata, collateral estoppel or by waiver. The essence

   of defendants’ res judicata, collateral estoppel and waiver arguments is that plaintiffs failed to

   challenge DBNTC’s standing to sue in the underlying foreclosure actions and are now precluded

   from doing so.




                                                    11
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 12 of 29. PageID #: 1668



   (1:08 CV 300)

           1.      Claim preclusion and issue preclusion

           Federal courts must give a state court judgment the same preclusive effect that judgment

   would be given under the law of the state in which the judgment was rendered. Trafalger Corp.,

   et al., v. Miami County Board of Commissioners, et al., 519 F.3d 285, 287 (6th Cir. 2008) (citing

   Hamilton’s Bogarts, Inc. v. State of Michigan, 501 F.3d 644, 650 (6th Cir. 2007)). Ohio state

   courts recognize both claim preclusion and issue preclusion. Trafalger Corp., 519 F.3d at 287

   (citing Fort Frye Teachers Ass’n, OEA/NEA v. State Employment Relations Bd., 81 Ohio St. 392,

   395 (1998)). The legal doctrine of res judicata includes the two related concepts of claim

   preclusion and issue preclusion. Fort Frye Teachers Ass’n., 81 Ohio St. at 395 (citing Grava v.

   Parkman Twp., 73 Ohio St. 3d 379, 381 (1995)).

           Res judicata is an affirmative defense and not jurisdictional. EMC Mortgage Corp. v.

   Jenkins, 164 Ohio App.3d 240, 841 N.E.2d 855, 860 (Ohio App. 10 Dist. 2005); see also

   Hutcherson, 326 F3d. at 755. While defendants’ argument that plaintiffs’ action is foreclosed by

   the principles of res judicata may be correct, because res judicata is an affirmative defense and

   not jurisdictional, it is not necessary for the Court to reach that issue in this case.

           2.      Waiver

           Like res judicata, waiver is an affirmative defense. See Ohio Civ. R. Rule 8(c); Federal

   Rule of Civil Procedure 8(c). While defendants’ argument that plaintiffs’ action is foreclosed by

   waiver may be correct, because waiver is an affirmative defense and not jurisdictional, it is not

   necessary for the Court to reach that issue in this case.




                                                      12
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 13 of 29. PageID #: 1669



   (1:08 CV 300)

   D.        Rule 12(b)(6) and 12(c) Standard of Review8

             Defendant DBNTC has moved to dismiss all plaintiffs’ claims pursuant to Rule 12(b)(6)

   of the Federal Rules of Civil Procedure, failure to state a claim upon which relief can be granted.

   Defendants WWR and Reisenfeld have moved for dismissal of plaintiff Whittiker’s and

   Stepanek’s claims, respectively, pursuant to Rule 12(c) of the Federal Rules of Civil Procedure,

   motion for judgment on the pleadings.

             With respect to defendants’ motion for judgment on the pleadings, all well-pleaded

   material allegations of the Complaint must be taken as true and the motion will be granted only if

   the defendants are nevertheless clearly entitled to judgment as a matter of law. Tucker v.

   Middleburg-Legacy Place, 539 F.3d 545, 549 (6th Cir. 2008) (citing J.P. Morgan Chase, Bank,

   N.A. v. Winget, 510 F.3d 577, 581 (6th Cir. 2007)); Local 219 Plumbing and Pipefitting Industry

   Pension Fund, et al., v. Buck Consultants, et al., 2009 WL 396168 (6th Cir. Ohio).

             To survive a motion to dismiss for failure to state a claim pursuant to Rule 12(b)(6), the

   Court must construe the Complaint in the light most favorable to the plaintiffs and accept

   plaintiffs’ well-pleaded allegations as true. Horattas v. Citigroup Finanacial Markets, Inc., 532

   F. Supp. 2d 891, 895-96 (citing Nat’l Surety Corp. v. Hartford Cas. Ins. Co., 493 F.3d 752, 754

   (6th Cir. 2007); U.S. ex rel. Bledsoe v. Cmty. Health Sys., Inc., 501 F.3d 493, 501-02 (6th Cir.

   2007)).




             8
             Plaintiffs do not object to the standard of review applied to defendants’ motion in the Recommendation.
   However, plaintiffs have objected to the Recommendation that defendants’ motions for judgment on the pleadings
   and motions to be dismiss be granted, and therefore, Court reviews that analysis de novo.

                                                           13
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 14 of 29. PageID #: 1670



   (1:08 CV 300)

            In a recent anti-trust conspiracy case, Bell Atlantic Corp., et al. v. Twombly, et al., 550

   U.S. 544, 127 S.Ct. 1955 (2007), the Supreme Court revised its prior statement that Rule

   12(b)(6) dismissal is only proper if it appears beyond doubt that plaintiff can prove “no set of

   facts” in support of his claim that would entitle him to relief, and dismissed the plaintiff’s

   complaint “because it did not contain facts sufficient to ‘state a claim for relief that is plausible

   on its face.’” Weisbarth v. Geauga Park District, 499 F.3d 538, 541 (6th Cir. 2007) (quoting

   Twombly, 127 S.Ct. at 1974)). The factual allegations in the complaint must be enough to raise a

   right to relief above the speculative level on the assumption that all the allegations in the

   complaint are true. Association of Cleveland Firefighters, et al. v. City of Cleveland, Ohio, et

   al., 502 F.3d 545, 548 (6th Cir. 2007) (quoting Twombly, 127 S.Ct. at 1965-65).9

   E.       Consideration of Matters Outside the Pleadings -
            DBNTC’s Requests for Judicial Notice are Granted

            Rule 12(d) of the Federal Rules of Civil Procedure provides that if on a motion pursuant

   to Rule 12(b)(6) or Rule 12(c) matters outside the pleadings are considered, the motion must be

   treated as one for summary judgment under Rule 56. In ruling on a motion to dismiss or motion

   for judgment on the pleadings, the Court may only consider documents attached to, incorporated

   by, or referred to in the pleadings. Documents attached to a motion to dismiss are considered


            9
               As recognized by the Sixth Circuit, the scope of the applicability of Twombly in 12(b)(6) analysis outside
   of anti-trust cases is uncertain. Weisbarth v. Geauga Park District, 499 F.3d at 541. However in this case, that issue
   need not be resolved because plaintiffs’ claims fail under either standard. About two weeks after Twombly was
   decided, the Supreme Court affirmed that Federal Rule of Civil Procedure 8(a)(2) requires only a short and plain
   statement that the pleader is entitled to relief and that specific facts are not necessary and that when ruling on a
   motion to dismiss, a judge must accept as true all of the factual allegations in the complaint. Tucker, 539 F.3d at 550
   (quoting Erickson v. Pardus, 127 S.Ct. 2197, 2200 (2007) (citing Twombly, 127 S.Ct. at 1965)). The Sixth Circuit
   reads the Twombly and Erickson decisions in conjunction with each other with respect to motions for judgment on
   the pleadings or motions to dismiss for failure to state a claim. Tucker, 539 F.3d at 550 (quoting Sensations, Inc. v.
   City of Grand Rapids, 526 F.3d 291, 295-96 (6th Cir. 2008)).

                                                             14
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 15 of 29. PageID #: 1671



   (1:08 CV 300)

   part of the pleadings if they are referred to in plaintiff’s complaint and are central to the claims,

   and therefore may be considered without converting a Rule 12(b)(6) motion to dismiss to a

   Rule 56 motion. Weiner v. Klais and Company, 108 F.3d 86, 89 (6th Cir. 1997). The same

   analysis applies to information that may be considered without converting a Rule 12(c) motion

   for judgment on the pleadings to one for summary judgment. See Savage v. Hatcher, 109 Fed.

   Appx. 759, 760 (6th Cir. Ohio) (citing Weiner regarding limiting a federal court’s review to the

   “pleadings” when considering motion for judgment on the pleadings); Kerper-Snyder v. Multi-

   County Juvenile Attention, 2009 WL 88048 (N.D. Ohio) (citing Weiner regarding limiting

   federal court’s review to “pleadings” when considering motion or judgment on the pleadings);

   see also Horsley v. Feldt, 304 F.3d 1125, 1133-35 (11th Cir. 2002); Lindsay v. Yates, 498 F.3d

   434, 437 n. 5 (6th Cir. 2007) (legal standard for adjudicating a Rule 12(c) motion is the same as

   for a Rule 12(b)(6) motion).

          In addition to consideration of the pleadings, federal courts may also consider materials

   that are public records or otherwise appropriate for taking judicial notice without converting a

   Rule 12(b)(6) motion to a Rule 56 motion. New England Health Care Employees Pension Fund

   v. Ernst & Young, LLP, 336 F.3d 495, 501 (6th Cir. 2003). The same is true with respect to

   Rule 12(c) motions for judgment on the pleadings. Barany-Snyder v. Weiner, 539 F.3d 327, 332

   (6th Cir. 2008) (public records may be taken into account when considering Rule 12(c) motion

   for judgment on the pleadings); Lindsay, at 437 n. 5 (legal standard for adjudicating a Rule

   12(c) motion is the same as for a Rule 12(b)(6) motion).




                                                     15
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 16 of 29. PageID #: 1672



   (1:08 CV 300)

          The documents attached to defendants’ motions, and the subject of DBNTC’s requests

   for judicial notice, are both public records and central to plaintiffs’ claims that defendants

   violated the FDCPA because DBNTC was not the holder of plaintiffs’ mortgages when the

   underlying foreclosure actions were filed. The documents are public records regarding the state

   foreclosure actions, and documents showing DBNTC to be the trustee of the issuer or the

   depositor of the mortgage loans before the filing of the state foreclosure actions.

          DBNTC’s requests that the Court take judicial notice (ECF 76 and 92-2) of certain

   documents in support of its Rule 12(b)(6) motion to dismiss were not opposed by plaintiffs nor

   did plaintiffs object during oral argument held by the Magistrate Judge. See ECF 99, fn. 9.

   Plaintiffs objected to the Recommendation that DBNTC’s requests for judicial notice of certain

   documents be granted, but beyond merely asserting their objection, offered no argument in

   support.

          The Court conducted a de novo review regarding DBNTC’s requests for judicial notice,

   and concurs with the Recommendation that DBNTC’s requests that the Court take judicial notice

   of certain documents be granted. Accordingly, DBNTC’s requests for judicial notice (ECF 76

   and 92-2) are GRANTED.

   F.     Fair Debt Collection Practices Act, 15 U.S.C. § 1692e

          Section 1692e of the FDCPA generally prohibits a debt collector from using false,

   deceptive or misleading representation or means in connection with the collection of a debt.




                                                    16
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 17 of 29. PageID #: 1673



   (1:08 CV 300)

   Plaintiffs allege that defendants violated 15 U.S.C. §§ 1692e(2), (5) and (10)10 in the underlying

   foreclosure actions by, in essence, misrepresenting DBNTC’s ownership of plaintiffs’ notes at

   the time the underlying foreclosure actions were filed, thus concealing the fact that it lacked

   capacity to bring the foreclosure actions.11

            The sections of 15 U.S.C. § 1692e at issue provide in relevant part:

            § 1692e - False or misleading representations

            A debt collector may not use any false, deceptive, or misleading representation or means
            in connection with the collection of any debt. Without limiting the general application of
            the foregoing, the following conduct is a violation of this section:
            (2)     The false representation of -
                    (A) the character, amount, or legal status of any debt; or . . .
            (5)     The threat to take any action that cannot legally be taken or that is not intended to
                    be taken . . .
            (10) The use of any false representations or deceptive means to collect or attempt to
                    collect any debt or to obtain information concerning a consumer.

            Whether a debt collector’s actions are false, deceptive, or misleading under § 1692e is

   based on the objective test of whether the “least sophisticated consumer” would be misled by

   defendant’s actions. Barany-Snyder v. Weiner, 539 F.3d 327, 332-33 (6th Cir. 2008) (citing

   Harvey v. Great Seneca Fin. Corp., 453 324, 329 (6th Cir. 2006)); see also Deere v. Javitch,

   Block and Rathbone, LLP, 413 F. Supp. 2d. 886, 889 (S. D. Ohio 2006) (citing Smith v.

   Transworld Systems, 953 F.2d 1025, 1029 (6th Cir. 1992)) . Whether a statement is deceptive to




            10
              Plaintiffs allege in Count 1 that defendants violated § 1692e by falsely representing or implying that the
   debt was owing to DBNTC as an innocent purchaser for value when such an assignment had not been accomplished,
   but does not allege a violation of § 1692e(12).
            11
                 See Complaint, par. 36 (ECF 57).

                                                            17
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 18 of 29. PageID #: 1674



   (1:08 CV 300)

   the least sophisticated consumer is a question of law. See Federal Home Loan Mort. Corp. v.

   Lamar, 503 F.3d 504, 508 at fn. 2 (6th Cir. 2007).

           In order to establish a claim under § 1692e: 1) plaintiffs must be a “consumer” as

   defined by 15 U.S.C. § 1692; 2) the “debt” must arises out of transactions which are “primarily

   for personal, family or household purposes” (see 15 U.S.C. § 1692a(5)); 3) defendant must be

   a “debt collector” as defined by 15 U.S.C. § 1692a(6)12; and 4) defendant must have violated

   § 1692e’s prohibitions. The absence of any factor is fatal to plaintiffs’ claims under § 1692e.

           1.       Whittiker’s and Kimball’s FDCPA claims
                    are time barred by the statute of limitations

                    15 U.S.C. § 1692k(d) provides that an action pursuant to § 1692e may be brought

   in federal court without regard to the amount in controversy “within one year from the date on

   which the violation occurs.” In their motions, defendants argue that Whittaker’s and Kimball’s

   FDCPA claims are barred by the applicable statute of limitations. Plaintiffs do not deny that

   Whittiker’s and Kimball’s FDCPA claims were filed outside of § 1692k(d)’s one year statute of

   limitations, but argue that their claims are subject to equitable tolling because defendants’

   alleged misrepresentations that DBNTC was the owner and holder of their notes were concealed

   by the defendants and could not be reasonably discovered by plaintiffs.

           The Recommendation assumed without deciding for the purpose of that analysis that the

   FDCPA’s one year statute of limitations was subject to equitable tolling. However, the



           12
              DBNTC argues in its motion to dismiss that it is not a debt collector within the meaning of the FDCPA.
   However, the Court need not and does not decide that issue in this case because the plaintiffs’ FDCPA claims fail on
   other grounds.


                                                           18
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 19 of 29. PageID #: 1675



   (1:08 CV 300)

   Recommendation concluded that the application of equitable tolling to Whittiker’s and

   Kimball’s claims was not appropriate. The plaintiffs have objected to the Recommendation on

   this point, and therefore the Court will review the issue de novo.

            Plaintiffs Whittiker and Kimball assert that defendants concealed their FDCPA cause of

   action arising from defendants’ misrepresentations of DBNTC’s ownership of the note and

   mortgage in the underlying foreclosure actions, and that these misrepresentations equitably toll

   the FDCPA’s one year statute of limitations. The Sixth Circuit has not yet ruled whether the

   FDCPA statute of limitations is subject to equitable tolling.13 However, based on its analysis

   below, the Court concludes that plaintiffs cannot prevail on their equitable tolling argument even

   assuming that the FDCPA statute of limitations is subject to equitable tolling. Therefore is not

   necessary for the Court to decide in this case whether the FDCPA statute of limitations is subject

   to equitable tolling.

            In order to establish equitable tolling by fraudulent concealment, plaintiffs must allege

   and establish that: 1) defendants concealed the conduct that constitutes the cause of action;

   2) defendants’ concealment prevented plaintiffs from discovering the cause of action within the

   limitation period; and 3) until discovery of the cause of action, plaintiffs exercised due diligence

   in trying to find out about the cause of action. Pinney Dock & Transp. Co. v. Penn Cent. Corp.,

   838 F.2d 1445, 1465 (6th Cir. 1988). Whittiker and Kimball have not alleged the elements of



            13
               Although the Sixth Circuit has not ruled precisely on this issue, the Foster court in the Southern District
   of Ohio concluded that equitable tolling is available to FDCPA plaintiffs based on the Sixth Circuit decision finding
   equitable tolling applicable to the Truth in Lending Act statute of limitations. See Foster, et al. v. D.B.S. Collection
   Agency, 463 F. Supp. 2d 783, 977 (S.D. Ohio 2006) (citing Jones v. TransOhio Sav. Ass’n, 747 F.2d 1037, 1040-43
   (6th Cir. 1984)).

                                                              19
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 20 of 29. PageID #: 1676



   (1:08 CV 300)

   equitable tolling by fraudulent concealment in their complaint, and other documents properly

   before the Court on these Rule 12 motions provide no support for the application of equitable

   tolling to Whittiker’s and Kimball’s claims even when viewed in a light most favorable to the

   plaintiffs.

            Defendants’ conduct that allegedly violates the FDCPA are the allegedly false statements

   in the underlying foreclosure complaints that DBNTC was the owner and holder of the notes and

   mortgages which were the subject of the foreclosure. Whittiker and Kimball have not alleged,

   and the pleadings and other documents properly before the Court and viewed in favor of

   plaintiffs do not indicate, that these allegedly false statements were affirmatively concealed from

   plaintiffs by defendants, or that, despite the exercise of due diligence, defendants’ conduct

   prevented plaintiffs from discovering their FDCPA claims.14

            Based on this analysis, the Court concludes that, in this case, it would not be appropriate

   to equitably toll the FDCPA statute of limitations even if the FDCPA statute of limitations were

   subject to equitable tolling. Accordingly, the Court concurs with the Recommendation and finds

   that Whittiker’s and Kimball’s claims are time-barred by the FDCPA statute of limitations.




            14
               Additionally in the case of Whittiker, the FDCPA was asserted as an affirmative defense in the answer to
   the foreclosure complaint filed by Whittiker’s attorney in the Whittiker Foreclosure Action. Further, DBNTC filed a
   motion in the Whittiker Foreclosure Action to “substitute” itself as the party plaintiff after the assignment of the note
   and mortgage had been completed, and the state court granted that motion. Under these facts, Whittiker, who was
   represented by counsel in the underlying foreclosure action, cannot realistically claim that the FDCPA claims now
   before this Court could not have been reasonable discovered despite the exercise of due diligence within the statute
   of limitations, or that DBNTC concealed the status of the assignment of the underlying note/mortgage which
   Whittiker now alleges constitutes a FDCPA violation.

                                                              20
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 21 of 29. PageID #: 1677



   (1:08 CV 300)

          2.       Plaintiffs do not assert actionable FDCPA claims

                   a.     Kimball

          The Court has already determined that Kimball’s FDCPA claims are barred by the statute

   of limitations. Additionally, Kimball has failed to allege actionable FDCPA claims.

          The prohibitions of the FDCPA cover debts which arise out of transactions primarily for

   personal, family, or household purposes. See 15 U.S.C. § 1692a(5). Whittiker and Stepanek

   allege in the Complaint that their debt was created primarily for personal, family or household

   purposes. However, this allegation is conspicuously absent from Kimball’s allegations. The

   absence of this allegation to establish that Kimball’s debt is even covered by the prohibitions of

   the FDCPA § 1692e was pointed out in the defendants’ briefs and in the Recommendation, but

   not refuted in plaintiffs’ opposition to defendants’ motions or in plaintiffs’ objections to the

   Recommendation.

          Construing in Kimball’s favor the Complaint and documents properly before the Court

   on defendants’ Rule 12 motions, there is nothing to support a finding that Kimball’s debt is

   primarily for personal, family, or household purposes. This failure is fatal to Kimball’s FDCPA

   claims even if Kimball was not already time-barred by the FDCPA statute of limitations. Kafele

   v. Shapiro, 2006 WL 783457 at *5 (S.D. Ohio) (plaintiff’s claim under the FDCPA fails as a

   matter of law because plaintiff made no attempt to come forward with evidence that the subject

   properties were for personal, family or household purposes).




                                                    21
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 22 of 29. PageID #: 1678



   (1:08 CV 300)

            The Court finds that Kimball’s FDCPA claims fail as a matter of law in addition to being

   time-barred by the FDCPA statute of limitations, and concurs with the Recommendation.

   Accordingly, DBNTC’s motion to dismiss Kimball’s FDCPA claims is granted.

                       b.       DBNTC’s foreclosure complaints not deceptive
                                to the least sophisticated consumer15

            The “essence” of plaintiffs’ FDCPA claims is that “defendants misrepresented Deutsche

   Bank’s ownership of Plaintiffs’ notes and thus concealed the fact that it lacked capacity to bring

   the foreclosure actions.” ECF 85, p. 41 of 47. In the case of Whittiker16 and Kimball, the debt

   was assigned to DBNTC and recorded prior to the final adjudication of the state court

   foreclosure actions.17 Implicit in the state courts’ judgments in favor of DBNTC in the Whittiker

   and Kimball Foreclosure Actions is the determination that any standing and capacity issues that

   may have been present are not fatal to a state court action, but may be cured.18 In the case of


            15
               The Court has already determined that, as a threshold matter, Whittiker’s and Kimball’s claims are time
   barred by the FDCPA statute of limitations. Further in the case of Kimball, the Court has determined that her
   FDCPA claims fail because Kimball has not alleged or placed before the Court any evidence that her debt was for
   personal, family, or household purposes. Nevertheless, the analysis of this section also applies to the Whittiker and
   Kimball plaintiffs.

            16
               After DBNTC commenced the foreclosure proceeding against Whittiker, DBNTC moved the state court
   to allow “substitution” of DBNTC as the plaintiff after the assignment of the debt was completed, which was
   granted. See ECF 69-4 and 69-9. As plaintiffs point out in their opposition to defendants’ motions to dismiss, the
   state court’s judgment was based on DBNTC’s ownership of the note at the time the foreclosure judgment was
   granted.

            17
                 See citations to documents for which the Court has taken judicial notice in the Recommendation at p. 5.

            18
               In Ohio, except in limited cases involving administrative appeals, standing is not jurisdictional but may
   be cured by substituting the proper party so that a court otherwise having subject matter jurisdiction may proceed to
   adjudicate the matter. State ex rel. Tubbs Jones v. Suster, 84 Ohio St. 3d 70, 77 (1998); see also Bank of New York
   v. Stuart, 2007 WL 936706 (9th District) (bank that had filed foreclosure action could cure real-party-in-interest
   problem by subsequently obtaining the mortgage); Foster, 463 F. Supp. 2d at 791 (state court determined that even
   though plaintiff did not have legal capacity to sue because plaintiff had not registered with Secretary of State, the
                                                                                                         (continued...)

                                                              22
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 23 of 29. PageID #: 1679



   (1:08 CV 300)

   Stepanek, the mortgage loan was assigned and recorded prior to or at the same time Stepanek

   Foreclosure Action was filed.

            In the Sixth Circuit, a false statement that is not deceptive applying the objective “least

   sophisticated consumer” test is not a violation of the FDCPA. See Lewis v. ACB Business

   Services, Inc., 135 F.3d 389, 401-02 (6th Cir. 1998).19 Further, simple inability to prove present

   debt ownership at the time a collection action is filed does not constitute a FDCPA violation.

   Harvey v. Great Seneca Financial Corporation, 453 F.3d 324, 331-33 (6th Cir. 2006). However,

   when a complaint for a FDCPA violation alleges that the plaintiff in the underlying collection

   action asserted it was the owner of the debt “all the while knowing that they did not have means

   of proving the debt,” that FDCPA complaint will survive a motion to dismiss for failure to state a

   claim. See Delawder v. Platinum Financial Services, 443 F. Supp. 2d 942, 945 (S.D. Ohio 2005)




            18
              (...continued)
   collection action could remain pending after plaintiff registered with Secretary of State and then had legal capacity);
   but see Wells Fargo Bank v. Byrd, 178 Ohio App. 3d 285, 897 N.E. 2d 722, 725-27 (2008) (in a foreclosure action, a
   bank that was not the mortgagee when suit was filed cannot cure lack of standing by subsequently obtaining an
   interest in the mortgage).
             The Court recognizes that standing, capacity to sue, and real-party-in-interest are different concepts that are
   frequently confused. See Firestone v. Galbreath, 976 F.2d 279, 283 (6th Cir. 1992). However, the various use of
   these terms by the parties does not alter the analysis or outcome in this case.


            19
                Two district courts in the Southern District of Ohio have relied on an unpublished Sixth Circuit opinion
   to arrive at a different conclusion. See Kelly v. Great Seneca Financial Corp., 443 F. Supp. 2d 954, 961 (S.D. Ohio
   2005) (“[A]fter Lewis, where a per se false statement was apparently not enough without “deception,” the Sixth
   Circuit suggested in an unpublished opinion that an “incorrect” representation in a collection letter is sufficient under
   section 1692e(2) to withstand a motion to dismiss, without discussing its deceptive or misleading character.”(citing
   Savage v. Hatcher, 109 Fed. Appx. 759, 761(6th Cir. 2004)); Hartman v. Asset Acceptance Corp., 467 F. Supp. 2d
   769, 779 (S.D. Ohio 2004) (“[A]fter Lewis, where a per se false statement was apparently not enough without
   “deception,” the Sixth Circuit has recently suggested in an unpublished opinion that an “incorrect” representation in
   a collection letter is sufficient under section 1692e(2) to withstand a motion to dismiss, without discussing its
   deceptive or misleading character.”(citing Savage v. Hatcher, 109 Fed. Appx. 759, 761(6th Cir. 2004)).

                                                              23
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 24 of 29. PageID #: 1680



   (1:08 CV 300)

   (false affidavit attached to complaint “all the while knowing that they did not have means of

   proving the debt”).

          In finding no FDCPA violation based inability to establish debt ownership at the time the

   collection action is filed, the Harvey court distinguished the facts before it from Delawder.

   Unlike the plaintiff in Delawder, the plaintiff in Harvey did not allege that the defendants in the

   underlying collection action attached a false document to the collection complaint or even that

   the debt-collection claim was false or unsubstantiated. The Harvey court further distinguished

   the facts before it from cases in other circuits where misrepresentations of the legal character of

   the debt owed constituted a false, misleading, or deceptive practice to the unsophisticated

   consumer under the FDCPA. Harvey v. Great Seneca Financial Corporation, 453 F.3d at 332-

   33 (citing Freyermuth v. Credit Bureau Services, Inc., 248 F.3d 767, 771 (8th Cir. 2001) (filing

   of lawsuit to collect a debt that is barred by the statute of limitations is false, misleading and

   deceptive); Goins v. JBC & Assoc., 352 F. Supp. 2d 262, 272 (D. Conn. 2005) (letters

   threatening suit on time-barred debt is a misleading representation); Shorty v. Capital One Bank,

   90 F. Supp. 2d 1330, 1331 (D.N.M. 2000) (filing of a time-barred claim is a deceptive practice

   because the debt cannot be pursued in court); Kimber v. Fed. Fin. Corp., 668 F. Supp. 1480,

   1489 (M.D. Ala. 1987) (letters threatening to sue on time-barred claim is misleading because

   debt collector cannot legally prevail in such a lawsuit)); see also, Foster, 463 F. Supp. 2d at 801-

   03 (§ 1692e violated when collection action commenced even though plaintiff was prohibited

   from commencing or maintaining civil action in any Ohio court under a fictitious name without

   complying with registration and recording requirements with the Secretary of State pursuant to



                                                     24
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 25 of 29. PageID #: 1681



   (1:08 CV 300)

   Ohio Rev. Code §§ 1329.06 and 1329.10; § 1692e violated when collection action brought

   against spouse who did not have legal obligation to pay); Williams v. Javitch, Block & Rathbone,

   LLP, 480 F. Supp. 2d 1016 (S.D. Ohio 2007) (knowledge that information in affidavit is false as

   to specifics of debt is more than lack of paper trail); Gionis v. Javitch, Block & Rathbone, LLP,

   238 Fed. Appx. 24, 28-30 (threat to take action that cannot be legally taken in Ohio (collect

   attorney fees) violates § 1692e).

          In this case, plaintiffs do not claim that DBNTC filed the underlying foreclosure actions

   all the while knowing that it did not have the means to prove ownership of the debts. In fact,

   based on documents properly before the Court, DBNTC, as trustee, was the holder of the

   mortgages and accompanying notes of each of the plaintiffs at the time the state foreclosure

   actions were filed,20 and the state courts rendered judgments in favor of DBNTC in the Whittiker

   and Kimball Foreclosure Actions based on DBTNC’s ownership of those debts.

          Further, plaintiffs do not claim that the existence or amounts of the debts are false, that

   DBNTC could not prove the debts, that they have no legal obligation to pay the debts, that the

   underlying foreclosure actions are time-barred, or some other circumstance under which DBNTC

   filed suit when it could not legally prevail in the underlying foreclosure actions. In fact, DBNTC

   did legally prevail in the Whittiker and Kimball Foreclosure Actions. The Stepanek Foreclosure

   Action was not concluded when the Complaint was filed.

          The Court finds the analysis of Harvey and Lewis to be persuasive in this case. The fact

   that DBNTC may have filed the state court foreclosure actions before assignment of the debt was


          20
               See ECF 99, pp. 13-19.

                                                   25
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 26 of 29. PageID #: 1682



   (1:08 CV 300)

   completed is not deceptive or misleading to the least sophisticated debtor as to DBNTC’s ability

   to prove ownership of the debts, the existence or amount of the debts, the plaintiffs’ obligations

   to pay the debts, or the ability of DBNTC to legally prevail in the foreclosure actions. The filing

   of a foreclosure action by a plaintiff in the process of obtaining an assignment not yet fully

   documented is not a deceptive, misleading, or abusive tactic and does not violate the FDCPA.

   See Harvey, 453 F.3d at 330-331; Shivone, 2008 WL 3154702 at *1(“The Court is not convinced

   that filing a complaint in a mortgage foreclosure on behalf of a lender in the process of obtaining

   an assignment not fully documented constitutes a violation of the Fair Debt Collection Practices

   Act.” (citing Harvey, 453 F.3d at 329-333)).

          The Court finds that plaintiffs’ FDCPA claims fail as a matter of law because even if

   DBNTC’s assertion in the underlying foreclosure actions that it was the owner and holder of the

   notes and mortgages is false, the Court finds that it is not deceptive, misleading or abusive, and

   concurs with the Recommendation. Accordingly, defendants’ motions as to plaintiffs’ FDCPA

   claims (Count 1) are granted.

   G.     The Ohio “Negotiation” Statute, Ohio Rev. Code § 1303.21

          The primary focus of plaintiffs’ objections to the Recommendation is that it did not

   consider the Ohio “negotiation” statute. According to plaintiffs, defendants’ failure to satisfy the

   requirements of Ohio Rev. Code § 1303.21 means that DBNTC’s representation in the

   underlying foreclosure complaints that it is the “holder” of plaintiffs’ notes is false, and therefore

   violates § 1692e of the FDCPA.




                                                    26
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 27 of 29. PageID #: 1683



   (1:08 CV 300)

          As discussed in the previous section, the documents properly before the Court establish

   that DBNTC, as trustee, was the holder of the notes and mortgages. In the case of Stepanek, the

   mortgage was assigned when the Stepanek Foreclosure Action was filed.

          However, also for the reasons discussed in the previous section, even if defendants’

   alleged failure to comply with the requirements of Ohio Rev. Code § 1303.21 rendered

   DBNTC’s statements in the underlying foreclosure actions false, the Court finds that the least

   sophisticated consumer would not be deceived regarding the debt, DBNTC’s ability to prove

   ownership of the debt, or DBNTC’s ability to legally prevail in the underlying state foreclosure

   actions. Accordingly, the alleged non-compliance with Ohio Rev. Code § 1303.21, even if true,

   does not result in an actionable claim under § 1692e of the FDCPA.

   H.     The Court Declines to Exercise Jurisdiction Over State Law Claims

          28 U.S.C. § 1367 provides for the exercise of supplemental jurisdiction by district courts

   over state law claims. Pursuant to the statue, a district court may decline supplemental

   jurisdiction over a state law claim when the district court has dismissed all claims over which the

   district court had original jurisdiction. 28 U.S.C. § 1367(c)(3).

          The Court has broad discretion in deciding whether to exercise supplemental jurisdiction

   over state law claims. Musson Theatrical, Inc. v. Federal Express Corp., 89 F.3d 1244, 1254

   (6th Cir. 1996). The usual course is for the district court to dismiss the state law claims if all

   federal claims are disposed of prior to trial. See Musson Theatrical, 89 F.3d at 1254 (quoting

   United Mine Workers v. Gibbs, 383 U.S. 715, 726 (1966)); Brandenburg v. Housing Authority of

   Irvine, 253 F.3d 891, 900 (6th Cir. 2001) (quoting Gibbs, 383 U.S. at 726).



                                                     27
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 28 of 29. PageID #: 1684



   (1:08 CV 300)

          In this case, plaintiffs’ FDCPA claims (Count 1) were their only federal claims.

   Plaintiffs’ only remaining claims, Counts 2 and 3, are state law claims. There are no exceptional

   circumstances in this case that would justify the Court exercising its discretion to retain

   jurisdiction over the two remaining state law claims.

          After conducting a de novo review, the Court concurs with the the Recommendation and

   declines to exercise supplemental jurisdiction over Counts 2 and 3 of the Complaint.

   Accordingly, Counts 2 and 3 of the Complaint are dismissed without prejudice.

                                            IV. CONCLUSION

          For the reasons discussed herein after a de novo review, and for the reasons contained in

   the Recommendation, the Court rules as follows:

          1) Defendant MDK’s motion for judgment on the pleadings (ECF 70) is denied without

   prejudice as moot;

          2) Defendant Reisenfeld’s motion for judgment on the pleadings (ECF 72) is granted as

   to Count 1. The Court declines to exercise jurisdiction as to plaintiffs’ remaining state claims

   (Counts 2 and 3), and dismisses those claims without prejudice. Consequently, Reisenfeld’s

   motion judgment on the pleadings as to Counts 2 and 3 is denied without prejudice as moot;

          3) Defendant WWR’s motion for judgment on the pleadings (ECF 74) is granted as to

   Count 1. The Court declines to exercise jurisdiction as to plaintiffs’ remaining state claims

   (Counts 2 and 3), and dismisses those claims without prejudice. Consequently, WWR’s motion

   for judgment on the pleadings as to Counts 2 and 3 is denied without prejudice as moot;




                                                    28
Case: 1:08-cv-00300-DDD Doc #: 109 Filed: 03/17/09 29 of 29. PageID #: 1685



   (1:08 CV 300)

          4) Defendant DBNTC ’s motion to dismiss (ECF 75) is granted as to Count 1. The Court

   declines to exercise jurisdiction as to plaintiffs’ remaining state claims (Counts 2 and 3), and

   dismisses those claims without prejudice. Consequently, DBNTC’s motion to dismiss as to

   Counts 2 and 3 is denied without prejudice as moot; and

          5) DBNTC’s requests that the Court to take judicial notice of certain documents in

   support of DBNTC’s motion to dismiss, ECF 76 and 92-2, are granted.

          Also pending before the Court is plaintiffs’ motion for class certification (ECF 54).

   Because the Court has granted the defendants’ dispositive motions as to plaintiffs’ federal

   claims, and declined to exercise jurisdiction over plaintiffs’ two state law claims, plaintiffs’

   motion for class certification (ECF 54) is moot, and therefore denied as such without prejudice.

          IT IS SO ORDERED.


    March 17, 2009                                  s/ David D. Dowd, Jr.
   Date                                           David D. Dowd, Jr.
                                                  U.S. District Judge




                                                    29
